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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1863V
                                          UNPUBLISHED


    CAROL POWLEY,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: July 25, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Joseph Adam Lewis, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On December 15, 2020, Carol Powley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on November 6,
2018 in her left arm. Petition at 1; Stipulation, filed July 21, 2022, at ¶¶ 2-4. Petitioner
further alleges she received the vaccine in the United States, her symptoms have
continued for more than six months, and there has been no prior award or settlement of
a civil action for damages on her behalf as a result of her alleged injury. Petition at ¶¶ 1,
13, 14; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner sustained a SIRVA Table
injury; denies that the vaccine caused petitioner’s alleged shoulder injury or any other
injury; and denies that her current condition is a sequela of a vaccine-related injury.”
Stipulation at ¶ 6.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       Nevertheless, on July 21, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $25,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 CAROL POWLEY,

                 Petitioner,                            No. 20-1863V
                                                        Chief Special Master Corcoran
 V.                                                     ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                                         STIPULATION

        The patties hereby stipulate to the following matters:

        I. Carol Powley ("petitioner"), filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa- 10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Ta ble"), 42 C.F. R. § I00.3(a)

       2. Petitioner received a flu vaccine on November 6, 2018 in her left arm.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she sustained a shoulder injwy related to vaccine administration

("SIRVA") within the time period set fmth in the Table. She fwther alleges that she experienced

the residual effects of this condition for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her alleged injwy.
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            6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged shoulder injwy or any other injw-y; and denies that her

cw-rent condition is a sequela of a vaccine-related injury.

            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

            8. As soon as practicable after an entJ-y of judgment reflecting a decision consistent with

the tenns of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secreta1-yofHealth and Human Services will issue

the foJlowing vaccine compensation payment:

        A lw11p swn of $25,000.00 in the form of a check payable to petitioner. This amow1t
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l (a)(l), and an application, the patties will submit to fwther proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made W1der any State compensation programs, insw·ance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act(42 U.S.C.


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§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11 . Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U. S.C. § 300aa-15(i), subject

to the availability of suffic ient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney' s fees and litigation costs, and past unreimbursable expenses, the money provided

pw·suant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-1 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individua I capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secreta1y of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Cow·t of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 6, 201 8, as

alleged in a petition for vaccine compensation filed on or about December 15, 2020, in the

United States Cow1 of Federal Claims as petition No. 20-1863V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable


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upon proper notice to the Court on behalf of either or both of the parties.

        I 5. If the special master fails to issue a decision in complete conformity with the tem,s

of th.is Stipulation or if the Corut of Federal Clain1S fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of th.is Stipulation, then the pa1ties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties fu1ther agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and fu11her, that a change in the natru·e of the injury or condition or in the

items of compensation sought, is not gr0tmds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury or

any other injury or her current disabilities, or that petitioner suffered an injury contained in the

Vaccjne Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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Respectfully submitted,

PETITIONER:




ATTORNEY OF RECORD FOR                                             AUTHORIZED REPRESENTATIVE
PETITIONER:                                                        OF THE ATTORNEY GENERAL:


                                                                   ~~~?~
                                                                   HEATHER L. PEARLMAN
HO ELAW,PC                                                         Deputy Director
2608 HIBERNIA ST.                                                  Torts Branch
Dallas, TX 75204                                                   Civil Division
214-622-6340                                                       U.S. Department of Justice
jhowie@howielaw.net                                                P.O. Box 146
                                                                   Benjamin Franklin Station
                                                                   Washington, DC 20044-0146

AUTHORIZED REPRESENTATIVE                                          ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                                         RESPONDENT:
AND HUMAN SERVICES:
                          Digitally signed by George R.
George R. Grimes -$ 14 Grimes -S14

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                          Date: 2022.05.19 14:29:27 --04'00'

CDR GEORGE REED GRIMES, MD, MPH                                    JPHA.LE                    1
Director, Division of Irtjury                                      Trial Attorney
Compensation Programs                                              Torts Branch
Healthcare Systems Bureau                                          Civil Division
Health Resources and Services Administration                       U.S. Department of Justice
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                                                                   joseph.a.lewis@usdoj.gov



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Dated: -....,,1----,.,- - - - -




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